        Case 1:22-cv-02101-JPB Document 19 Filed 09/19/22 Page 1 of 3




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


Kabbage, Inc., d/b/a KServicing,                  Civil Action No.

                         Plaintiff,               1:22-cv-02101-JPB

      vs.

Customers Bank,

                         Defendant.



               PLAINTIFF KSERVICING’S NOTICE OF
            VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,

Plaintiff Kabbage, Inc. d/b/a KServicing (“Plaintiff”) hereby files this notice to

voluntarily dismiss, without prejudice to re-filing, Plaintiff’s Complaint filed May

25, 2022. Defendant Customers Bank (“Customers”) has been served with the

Complaint but has neither filed an answer nor a motion for summary judgment.

      The Parties shall bear their own attorneys’ fees, costs, and expenses.

                              Signature on Next Page




                                         1
      Case 1:22-cv-02101-JPB Document 19 Filed 09/19/22 Page 2 of 3




DATED: September 19, 2022               Respectfully submitted,

                                        By: /s/ D. Mason Parham
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                                    2
         Case 1:22-cv-02101-JPB Document 19 Filed 09/19/22 Page 3 of 3




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 Kabbage, Inc. d/b/a KServicing

         Plaintiff,
                                              CIVIL ACTION NO.
 v.                                           1:22-cv-02101-JPB

 Customers Bank,

         Defendant.


                CERTIFICATE OF SERVICE AND COMPLIANCE

      I certify that on September 19, 2022, I caused the foregoing PLAINTIFF

KSERVICING’S          NOTICE     OF    VOLUNTARY          DISMISSAL       WITHOUT

PREJUDICE to be filed with the Clerk of Court using the CM/ECF system, which

will automatically send e-mail notification of such filing to counsel of record. I also

certify this date that the foregoing was prepared in accordance with N.D. Ga. L.R.

5.1, using Times New Roman font, 14 point.

                                                       /s/ Uchenna Ekuma-Nkama
                                                       Uchenna Ekuma-Nkama




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